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1 3
1 IN THE UNITED STATES DISTRICT COURT 1 WITNESS INDEX
2 FOR THE DISTRICT OF MAINE 2 Page
3 3 WITNESS: JOHN YORK
4 4
5 MICHAEL McCUE, personal 5 Examination by: Mr. Van Dyke 4
§ representative of the estate 6
7 of Phillip McCue, Deceased, 7?
8 ) Civil Action 8 INDEX OF EXHIBITS
9 Plaintiff, )} Case No. 1:14-cv-0098-GzS 3

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{Exhibit No. 2 from David Rudolph's deposition was

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VS. ) il referred to.)
12 ) 12
13 CITY OF BANGOR, MAINE, et al., ) 13
14 ) 44
15 Defendants. ) is
16 16
a7 17
18 18
19 DEPOSITION of JOHN YORK, taken pursuant to is
20 Notice, at the offices of Richardson, Whitman, Large & 20
at Badger, One Merchants Plaza, Bangor, Maine, beginning 21
22 at 2:30 p.m., December 12, 2014, before Rebecca M. 22
23 Pearson, a Notary Public in and for the State of 23
24 Maine. 24
25 25
a
1 (This deposition was taken before Rebecca,
2
2 M. Pearson, RPR, a Notary Public for the state of
_3 Maine, at the offices of Richardson, Whitman, Large &
i 4 Badger, One Merchants Plaza, Bangor, Maine, on
2 APPEARANCES: be
5 December 12, 2014, beginning at 2:30 p.m.) |
3 For the Plaintiff: DAVID J. VAN DYKE, ESQ, "
4 6 (The deponent was administered the oath by
5 For the Defendants: PREDERICK J. BADGER, JR., ESQ. 7 the Notary Public.)
6 JOSHUA A. RANDLETT, ESQ. . .
, 8 JOHN YORK, having been duly sworn by the Notary Public,

2
co

was examined and deposed as follows:

10. EXAMINATION
. 41. BY MR. VAN DYKE:
2 12 @ Sir, you are John York?
13 13 A Yeah.
. 14 @Q > Have you ever been deposed before?
16 15 A Yes.
u 16 Q@ > Ina professional matter?
. 17 A Yep.
20 18 @ = lassume that this will proceed exactly as that did.
21 19 I'll be asking you a series of verbal questions.
. 20 You'll be answering those quegt]

   
  

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N
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everything you say and eve EXHIBIT
taken down by the court rep

and not with shrugs of the h| / J
24 shoulders. Okay?  -

25 A Okay.

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4 in other words, if I was sitting directly behind the 4 way to sort of block traffic from the area of the

2 driver like this and I'm facing backwards, I can look 2 confrontation?

3 over my shoulder and. see out through the windshield. 3 A Right.

4 But you can't see completely, you know, without 4 @Q > Would that be correct?

5 turning around and all that. 5 A Yes.

6 @Q > You were seated facing backwards, correct? 6 Q_ Now, were you, throughout the time that the truck was

7 A That's correct. 7 parked, staying inside the truck?

8 @ As was Mr. Rudolph? 8 A Yes.

9 A That's correct. 9 Q@ Did you move around inside the truck, or did you stay
10 @Q And I'm assuming that you were directly behind the 10 pretty much where you were seated?
11 driver? 11. A Stayed pretty much in my seat. We were returning from
12 A Iwas behind the driver, yes. 12 a call, and we were working on some equipment and
13 @Q _ But you were facing the opposite direction from him? 13 stuff to get that back in service.
14 A Right. 14 @ > AsI understand the situation, the engine itself was
15 @Q > Okay. So how did you have occasion, if you're seated 15 parked in such a way that the front of the engine was
16 backwards, to see police cars or an individual running 16 facing the river, correct?
17 and police chasing him? 17 A Yes.
18 A Well, just happened that I could see out the 18 Q > So you would have been facing, as you were seated,
19 windshield of the truck, and Cedar Street's right here 19 toward the Central Firehouse?
20 to the passenger side. (Indicating) So you havea 20 A’ Well, yeah, I mean, I would have been able to see
21 better vision point that way, and I was just able to 21 Central from Dave's side -- from the passenger's side,
22 see a cruiser coming down the hill and another two 22 and I could see the Quirk lot from my side.
23 cruisers were parked, and there was a police officer 23 @_ Did you have an opportunity to observe what was going
24 in pursuit of somebody. 24 on between the police and Mr. McCue?
25. Q_ So by turning yourself, you could see out the window? 25 A Yeah. There was quite a struggle.

10 12

41. A Yeah. 1 @Q > You actually were able to see that?

2 @ And that's, in fact, what you did? 2 A) Mm-hmm.

3 A Yeah. 3 Q That's a yes?

4 Q_ Okay. 4 A Yes. Sorry.

5 A Yes. 5 @Q~ Were you doing something while that confrontation was

6 @ That's fine. So tell me what happened after you saw 6 going on?

7 the police cruisers and then you saw an individual 7 A lwas putting the equipment back together and every

8 running and a couple of police officers after him? 8 once in a while we'd be over watching the struggle

9 A _ I believe they ran out into the middle of Main Street, 9 seeing what was going on and getting our equipment
10 and one of the cruisers went over to act as a, for 10 ready for the next call.
11 better lack of terms, like a vehicle block so nobody 11. Q > So you had some equipment that had to be put back
12 would get hurt. 12 together after the prior call, correct?
13. Q_ Okay. 13 A Yes.
14 A But there was such a struggle going on on that 14 Q > That had nothing do with Mr. McCue?
15 opposite side of Main Street from Central Firehouse, 15 A No.
16 that when the light turned green, I believe Acting 16 Q > Atsome point did you observe Mr. McCue on the ground
17 Lieutenant Hodge directed the driver to slide the 17 being covered by police officers?
18 truck over and let's just block traffic for them and 18 A Yes. ,
19 stay in the truck while they're doing their thing. 19 @ Were you able to observe at what point there was any
20 @Q = Now, while the confrontation was occurring with the 20 cessation of resistance?
21 police officers and Mr. McCue, you were in the engine 21 A Yeah. He -- Mr. McCue was flailing around on the
22 that was parked essentially in the street, correct? 22 ground just super human strength. I mean, I don't
23 A’ Yes, 23 remember how many police officers were there, but --
24 @Q And the -- as I understand it from the prior testimony 24 @ = Atsome point did the resistance seem to cease?
25 of Mr. Rudolph, the truck had been parked in such a 25 A Not at -- not for a while.

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13 15
1 Q Right, but at some point did it? 4 MR. RANDLETT: Object to form.
2 A Not, not until after he was handcuffed. 2 A They could have, but I don't know what everybody was
3 Q@ = Okay. But at some point he's handcuffed, and does 3 doing.
4 resistance cease that you could see? 4 BY MR, VAN DYKE:
5 A’ At some point. 5 @Q > Okay. Okay. So what happens when he is
6 Q@ > Okay. At the point that resistance ceased, what was 6 nonresponsive; what happens then?
7 happening? 7 A We got out of the engine and it was right across from
8 A The police or the officers were putting the individual 8 the station, so motioned over the ambulance. And the
9 in their cruiser. 9 guys got in the truck, they came over. We went and
10 @Q Okay. So you, you observed at some point resistance 10 examined Mr, McCue, and the ambulance backed up, got
41 has ceased, and he, I take it, has been picked up from 11 the stretcher out, put him on the stretcher, and I
42 the ground? 12 believe he wasn't breathing or something. He was
13 A Yes. 13 unresponsive basically. ,
14 @ Did you see him get picked up? 14 @Q > There were -- were there any other EMTs or paramedics
15 A Yes. 16 who responded before you guys got there?
16 @Q@ > And did you see him carried from the -- where he had 16 A No.
17 been on the ground to the vicinity of the police 17 Q So the first people to get to Mr. McCue were the ones
18 cruiser? 18 who came from your fire truck?
19 A Yeah. He was like a fish out of water there, you 19 A Yes.
20 know, always moving around. 20 @ = And how many of you came over there?
21 @Q > At what point did you see him taken to the police car? 21 A Well, it was four of us so --
22 Did you actually see that happen? 22 @ = Okay. So the four of you from the fire truck were the
23 A Yes. 23 first people to reach Mr. McCue?
24 @ > So you saw him picked up? 24 A Yes. After the police had arrested him.
25 A Yeah, I believe -- and again, you know, it was a while 25 Q After the police arrested him, right?
14 16
1 ago, but I believe it was two or three of them picked 1 A Right.
2 him up, and they went to the police cruiser, opened 2 Q > Okay. Were there other EMTs or paramedics sort of
3 the back door, started to put Mr. McCue in the back of 3 milling around other than you four?
4 the cruiser. He was still flopping. 4 A Idon't recall milling around. The ambulance door was
5 @ You saw that? 5 open, and they were right in front of the bumper of
6 A Yeah. 6 the ambulance, I think, if 1 remember right when it
7 @ > You actually were able to observe that? 7 was time -- nobody was walking in the scene or
8 A And then he just kind of what I thought either he had 8 anything like that.
9 decided to calm down or something had happened so -- 9 Q@ Okay. But there's no question that the four people
10 @Q~ What happened when there was no further response from | 10 who were most immediately upon Mr. McCue after he was
41 Mr, McCue at all, what happened then? 11 nonresponsive of a medical nature were you four from
12 A I believe one of the officers motioned to us that 12 the truck?
13 something was wrong. So at that point we felt the 13. A Yeah -- yes.
14 scene was safe and we exited the truck and -- 14 @ > Yes. And did you note right away that he was
15 @Q > Mr. Rudolph had talked about a knock on the window 15 nonresponsive?
16 from Mr. Hodge and asking people to come out. 16 A’ Yes. .
17 Doe you remember that? 17, Q Was that you or someone else?
18 A I don't remember that because that would have been on 18 A Ican't remember if it was me or who it was, but as a
19 a different side of the truck. 19 tear, we knew that something -- that the patient was
20 @Q_ So there was no knock on the window on your side of 20 unresponsive.
21 the truck? 21 @ = Mr. Rudolph indicated that essentially all of you had
22 A No, because I was watching the event, if you will, 22 the same level of training so you basically act
23 unfold before me. 23 collaboratively, right?
24 @Q > And the opposite side of the truck could not watch the 24 A That night, yes. We had an abundance of paramedics
25 event because it was on the wrong side of the truck? 25 that night.
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17 19
1 @Q > Okay. So when he was nonresponsive, do you remember 1 A (Examining documents) Yes.
2 what was done? 2 Q@ > Okay. Now, can you tell me based on that report when
3 A We --I don't recall everything completely, but we 3 you four reached Mr. McCue?
4 started rendering care. I know that much. 4 A No.
§ @ When you came over to him, was he still handcuffed? 5 @Q I'll indicate that Mr. Rudolph felt that 9:06 would
6 A Yes. 6 have been the time that you had responded to Mr.
7 Q Was he still bound in his legs? 7 McCue.
8 A Yes. 8 A_ That would have been what I would say, yes. You could
9 @ Were his bindings of his legs still attached to the 9 say that that was the time that we responded.
10 bindings on his arms? 10 Q = Any reason why you wouldn't think that that was
11. A 1,1 don't remember. 11 accurate?
12 Q > What's commonly thought of as a hogtie? 12 A Only because I don't remember the times.
13 MR. RANDLETT: Object to the form. 13 Q@ Okay. But if you look at the document, you believe
14 A I don't remember. 14 the document's probably accurate?
15 BY MR. VAN DYKE: 15 A Yes.
16 Q You don't know if he was still hogtied or not? 16 Q@ Okay. So that seems to suggest that Mr. McCue was not
17 A Idon't remember. 17 loaded onto the ambulance until 9:12, six minutes
18 Q Okay. How was his body situated when you came over to | 18 later.
19 him? 19 A (Examining document) Again, I don’t -- I'm not sure
20 A 1 believe he was facedown. 20 what the --
21 @ = So the handcuffs would have been behind his back, 21 @ I'm only asking for your memory. You said you thought
22 right? 22 it was a minute, and it appears to have been at least
23 A Yes. 23 six minutes.
24 @Q = So you would have easily seen the handcuffs? 24 A Well, it may have been, but I know we were fairly
25 A Yes. 25 within ten minutes to the hospital, so that makes
18 20
1 @Q Allright. Were you able to initiate care before the 4 almost sense. So 1206 (sic) to 1215 (sic) that's,
2 handcuffs were removed? 2 what, 11 minutes to the hospital. So that's pretty
3 A We-- everything was almost simultaneously. I mean, 3 quick in our terms, if you will.
4 the ambulance backed in. We grabbed a stretcher, put 4 @Q > Okay. So could you have been working on him for six
5 him on the stretcher. At that time I believe the 5 minutes before he was loaded into the ambulance?
6 police had removed -- the officers removed the 6 A I suppose we could considering the times, but it just
7 handcuffs for us so we could do our job, and then we 7 seemed a lot quicker.
8 started rendering care. 8 Q > So you think that document is probably more accurate
8 @Q_ Do you know how long you were providing care at the 9 than your memory?
10 scene? 10 A If that's what the times say, 1 would say yes.
11. A It wasn't very long at all. Had to be less than a 11. @ You never obtained a heartbeat from Mr. McCue while
12 minute. 12. you were working on him for six minutes, did you?
13. Q > So you think after a minute he was taken to the 13. A Not that I recall.
14 ambulance? 14. @ > And during the ride to EMMC, the heartbeat was not
15 A Ithink we were on scene in the ambulance for less 15 resumed, was it?
16 than a minute. 16 A Ibelieve we did -- we did cardiac resuscitation the
17 @ Let me show you a document that has been marked as 17 whole time.
18 Exhibit No. 2 during Mr. Rudolph's deposition, and it 18 Q = And no heartbeat was induced?
19 is a Patient Care Report relating to this incident. 19 A As far as I know.
20 Have you ever before in your life seen that 20 Q In fact, according to that document, a heartbeat was
21 document, sir? 21 not induced until at approximately 9:18.
22 A (Examining document) If it's the same EMS report that 22 Do you see that?
23 I have here, then I would say yes. 23 A (Examining document) Okay.
24 Q_ Itshould be, but go ahead and confirm it's the same 24 @Q~ Which would be 12 minutes after you had started
25 one. 25 treating him, right?
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21 23
1 A Correct, because we continued CPR the whole time. 1 you know. There was a lot of people on him, but I
2 Q Ifa person is flat lined for 12 minutes, why continue 2 would have no way to know.
3 the CPR? 3 @Q@ > There were a lot of people on him, but you don't know
4 A Because our protocol states that we do that for at 4 where their weight was?
5 least 20 minutes. 5 A No.
6 @Q For at least 20 minutes? 6 MR. VAN DYKE: I have nothing further.
7 A And depending upon the situation, longer. By that 7 Thank you, sir.
8 time we were at the hospital, so probably our 8 MR. RANDLETT: We don't have any questions
9 equipment was still on the patient at the hospital. 9 for Mr. York. He will read and sign.
10 @Q > Were you present with Mr. McCue when a heartbeat was 10 (The deposition concluded at 2:54 p.m.)
11 resumed? 11
12 A Ido not know that. I don't remember that. 12
13 Q > So you don't remember if a heartbeat was ever resumed 13
14 while you were with him? 14
15 A Idon't. 15
16 @Q > Did someone make a determination on the scene that he | 16
17 had suffered a cardiac arrest? 17
18 A The determination would have been just based on the 18
19 fact that he had no pulse, and we were doing CPR. So 19
20 some type of a heart event had definitely happened. 20
21 @Q_ Did anyone make a determination what had caused that 21
22 event? 22
23 A No. 23
24 @ Have you had experience dealing with individuals who 24
25 have experienced excited delirium? 26
22 24
1 A I've had experience with patients that have been 1 CERTIFICATE
2 excited, yes. 2 I, Rebecca M. Pearson, RPR, a Notary Public in
3 @~ Well, I'm talking about specifically excited delirium. 3 and for the State of Maine, hereby certify that on the
4 Do you know what that term means? 4 12th day of December, 2014, personally appeared before
5 A Idonot. 5 me at the offices of Richardson, Whitman, Large &
. 6 Badger, One Merchants Plaza, Bangor, Maine, the
6 @ That's not aterm you use professionally? .
7 within-named deponent, JOHN YORK, who was sworn to
7 A’ That's correct. 8 testify the truth, the whole truth, and nothing but
8 Q_ So you would not be able to tell me sort of 9 the truth in the cause of action MICHAEL McCUE v. CITY
9 professionally if Mr. McCue was exhibiting symptoms of 10 OF BANGOR, MAINE, et al.
10 excited delirium that night or not? 11 I further certify that this deposition was
11 A 1 would not be able to tell you what that term means. 12 stenographically reported by me and later reduced to
12 Q > Okay. There are lots of events that can lead toa 13 computerized transcription, and that the foregoing is
13 cardiac arrest, correct? 14 a full and true record of the testimony given by the
14 A Sure. 15 deponent.
45 @Q Were you able to observe Mr. McCue when he was onthe | 16 I further certify that I am a disinterested
16 ground with the officers on him? : 17 person in the event or outcome of the above-named
17 A Observe him in what way? 18 cause of action.
48 @ Could you observe his body while the officers were on 19 IN WITNESS WHEREOF, I subscribe my hand this 27th
20 day of December, 2014.
19 him?
21
20 A Yeah -- yes. 29
21 @ = Would you agree -- would you agree that there were ‘¥ J 10 ‘Sp
22 officers who were placing weight on his upper back? 23 “fileany Ls RPR
23 MR. RANDLETT: Object to the form. Notary Public
24 A iIwould have no way to know that. Alls 1 -- yeah, I, 24 My commission expires:
25 I would have no way to know where they were placed, 25 February 22, 2016
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